i      Case 1:18-cv-00627-RGA Document 9 Filed 06/11/18 Page 1 of 1 PageID #: 58
I
i
I                              IN THE UNITED STATES DISTRICT COURT


Ij                                 FOR THE DISTRICT OF DELAWARE


     BE LABS, INC.,
l
~                            Plaintiff,

J                    V.                                  Civil Action No. 18-627-RGA

l
!
     RELA Y2, INC.,

                             Defendant.


                                      CLERK'S ENTRY OF DEFAULT

             AND NOW TO WIT THIS 11 1h day of June, 2018, the Plaintiff Be Labs, Inc. has filed a

     request for entry of default (D.I. 8).

            It appearing from the request for default (D.1. 8) and the Summons Returned Executed

     (D.I. 5), that service was effectuated and Relay2, Inc., has not Answered or otherwise moved

     with respect to the Complaint.

            Therefore, IT IS HEREBY ORDERED, in accordance with Federal Rule of Civil

     Procedure 55(a) that a default is hereby ENTERED against Defendant Relay2, Inc ..



                                                  John A. Cerino, Clerk


                                                  By~.~
                                                        DEPUTYLERK
